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EXHIBIT A
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JOSEPH L. GRANT
4201 MOSS CREEK COURT
MATTHEWS, NORTH CAROLINA 28105
PHONE 704 617 0336

June 30, 2016

Mr. Colin P. Smith

Holland & Knight, LLP

131 South Dearborn Street, Suite 3000
Chicago, Illinois 60603

Re: Kehler v. Bridgestone Americas Tire Operations, LLC, et al.

Dear Mr. Smith:

| am an independent tire consultant and failure analyst of tires. | have a Bachelor of
Science Degree in Mechanical Engineering from Fenn College of Engineering at Cleveland
State University and graduated in 1971. | was employed as a tire engineer for more than
34 years by Continental Tire North America, Inc., previously known as The General Tire
& Rubber Company and Continental General Tire, Inc. From September 1988 to January
of 1993, | was the Director of Commercial Tire Technology, which included all-steel
truck tires similar to the all-steel truck tire involved in this matter. As part of my tire
technology responsibilities involving all-steel truck tires, | headed up a technical team
involving tire engineers and chemists from the United States, Germany and Japan that
was responsible for developing all-steel truck tires for a joint venture (GTY Tire
Company) new truck tire manufacturing facility located in Mt. Vernon, Illinois. From
1993 until my retirement at the end of 2005, | was the Director of Product Analysis,
where | was responsible for the failure analysis of tires manufactured by Continental Tire
North America, Inc., and also analyzed other manufacturers’ tires. During my career, |
had responsibilities for the design, development, testing and the forensic analysis of
tires. These responsibilities included design, development and testing of tires to ensure
they complied with the performance requirements of the Department of Transportation
and Continental Tire as well as various vehicle manufacturers.

| am also a member of the Society of Automotive Engineers, the American Chemical
Society and the American Society of Mechanical Engineers and | have represented
Continental Tire at the Rubber Manufacturers Association and Tire and Rim Association.

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| have been engaged as an independent consultant in the field of tire failure analysis for
over fifteen (15) years for a wide variety of clients. In this regard, | have presented
expert opinion testimony in cases in both federal and state courts throughout the
United States. | have qualified as an expert in the field of tire failure analysis in both
State and Federal Courts in California, Texas, Arizona, Florida, Maryland, North Carolina,
South Carolina, Mississippi, Missouri, Georgia, Nebraska, Idaho, New York, Pennsylvania,
Tennessee, Louisiana, lowa, Oklahoma, Minnesota, Montana and Illinois. | have never
been found to be unqualified as an expert in the field of tire failure analysis by any
court.

On September 10, 2015, in Akron, Ohio, | personally examined the left front tire at issue
and its wheel and the companion right front tire. | have also reviewed various
depositions and case specific materials.

| am submitting this report pertaining to my findings, opinions and conclusions from my
forensic examination of the tire at issue and its wheel, the companion tire and my
review of various case-specific materials.

A. RADIAL TRUCK TIRE DISCUSSION

Radial truck tires such as the left front tire at issue and the companion tire are
commonly referred to as all-steel radial truck tires. This is because the body ply
reinforcement material as well as the belt reinforcement material are comprised of steel
cords. The body or carcass ply is one (1) steel ply and the steel belts are typically
comprised of four (4) steel belt ply layers. The inner steel belt layer closest to the steel
body ply is commonly referred to as the number one (1) steel belt and is also called the
transition belt. The next two (2) steel belts are the working belts and are commonly
referred to as steel belts two (2) and three (3). The top steel belt that is closest to the
tread is commonly referred to as the protector belt or the number four (4) steel belt.

An all-steel radial truck tire is a complex, laminate structure, typically containing twenty
or more different components and a dozen or more different compounds. All-steel
radial truck tires are designed to carry vehicle loads in a particular application under a
wide variety of operating conditions.

All-steel radial truck tires have entirely different compounds and construction
components compared to passenger and light truck tires in order to perform under high
loads, high inflation pressure, severe service conditions, multiple retreads, high mileage
and years of service. Because of the wide variety of vehicles and service conditions
where all-steel truck tires are used, the compounds and constructions are optimized for
the particular intended vehicles and service conditions such as for recreational vehicles.

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Sipe Groove

 
 
   
    

Shoulder
aire

 

Undertread
Belt Wedge

 

 
  
 

  
  
 

 

 

Belts
Sidewall
Body Ply __ | a.
Bead Filler Body Ply
15° Tapered AS. Innerliner tv ag Turnup
Bead Seat_ 1) WW ~ Chafer

‘a
ead Sole ———
Bead — Bead Bundle

 

 

ALL-STEEL RADIAL TRUCK TIRE GENERIC CUTAWAY DIAGRAM

From a tire manufacturing standpoint, all-steel radial truck tires are manufactured in
different manufacturing plants or at least in segregated portions of tire plants. This is
because the manufacturing equipment is extensively different compared to the
equipment that is used to manufacture passenger and light truck tires. Even the curing
of all-steel radial truck tires use significantly different temperatures, internal curing
press pressures and much longer curing times compared to passenger and light truck
tires.

Because of its complex nature, including that it is a pneumatic structure that requires
compressed air, an all-steel radial truck tire can fail due to a wide variety of severe or
abusive service-related conditions. Just because a tire fails or loses air does not mean a

tire is defective.
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B. BACKGROUND

According to the Wyoming Investigator’s Crash Report, on November 8, 2014, at 2:55
pm, a 2011 Freightliner truck (VIN 1FUJGLDR6BSBA8406) driven by Brian Kehler was
traveling westbound on Interstate 80 in Cheyenne, Laramie County, Wyoming. Steven
Marks, Kehler’s co-driver, was a passenger in the Freightliner. Around milepost 363.25,
the driver’s side steer tire blew out. The truck entered the eastbound lanes of travel and
collided with a 2005 Chevrolet Venture (VIN 1GNDV23E25D138748) driven by Aaron
Richards. The Chevrolet Venture continued eastbound for a short distance before
coming to a stop facing westbound in the eastbound lanes. The Freightliner truck
continued westbound in the eastbound lanes out of control and collided with a 2013
Dodge Caravan (VIN 2C4RDGCGXDR552095) in a partial head-on collision. The Dodge
Caravan was being driven by James Ednie. The Freightliner truck and the Dodge Caravan
came to a stop still locked together from the crash in the eastbound lanes. The speed
limit at the time of the accident was 75 miles per hour.

C. EXAMINATIONS
LEFT FRONT TIRE AT ISSUE AND WHEEL

During my examination of the left front tire at issue and its wheel, | took seven (7) pages
of inspection notes as well as one hundred sixty-two (162) digital photographs.

The left front tire at issue was identified by information molded on the sidewalls as
follows:

BRIDGESTONE R283

295/75R22.5

LOAD RANGE: G, PR 14

MAXIMUM SINGLE LOAD: 6175 LBS @ 110 PS! COLD
MAXIMUM DUAL LOAD: 5675 LBS @ 110 PSI COLD
TUBELESS RADIAL

REGROOVABLE

TREAD: 5 PLY STEEL

SIDEWALL: 1 PLY STEEL

DOT: 2CBT3WU1314

The DOT number indicates that the left front tire was manufactured in the Morrison,
Tennessee tire manufacturing facility during the 13 week of 2014.
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The left front wheel was an ALCOA forged 22.5 X 8.25 inch wheel. The tire and wheel
were separate for examination.

The left front tire had a majority of its tread and all four (4) steel belts detached. There
was one (1) separate detached piece of tread with portions of all four (4) steel belts
attached that was from the tire. There were also twenty-one (21) tires pieces that were
not from the tire.

The average remaining tread groove depth was 12.5/32"4s of an inch. The tread
hardness measured approximately 68 Shore A. There were a few stones in the tread
grooves.

Using a clock face as an approximate locating reference system with the DOT serial
number at 12:00, the tread and steel belts three (3) and four (4) were detached from
7:30 on the serial side and 9:30 on the opposite serial side to 4:15 on the serial side
and 6:15 on the opposite serial side.

The tread and steel belts three (3) and four (4) were partially detached from 9:30 on the
opposite serial side and 7:30 on the serial side back to 6:15 on the opposite serial side
and 6:30 on the serial side. The 9:30 opposite serial side ends of steel belts three (3)
and four (4) were loose, bare, bent and tangled back to approximately 9:00. The
opposite serial side tread shoulder rib was detached and missing over the region. There
were also gouges and tears on the opposite serial side intermediate tread rib in the 8:00
to 9:00 region.

The number two (2) steel belt was detached from 9:45 on the opposite serial side and
12:15 on the serial side to 12:45 on the opposite serial side and 3:15 on the serial side.
The number two (2) steel belt was partially detached on the serial side from 12:15 back
to 11:30.

The number one (1) steel belt was detached from 10:30 on the opposite serial side and
11:00 on the serial side to 1:15 on the opposite serial side and 1:45 on the serial side.
The number one (1) steel belt was broken at 10:30 to 11:00, approximately five (5)
inches long circumferentially in the crown region. There were an additional
approximately seven (7) steel cords in the number one (1) steel belt broken at 1:15.

The number two (2) steel belt cords were broken approximately six (6) inches long
circumferentially in the opposite serial side tread shoulder region from 10:00 to 10:45.

There were radial splits between steel carcass cords at 11:30 and 12:45. The radial
splits extended under the serial side and the opposite serial side shoulder decoupler
ribs and into the sidewalls. There were also steel carcass cords broken between the two

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(2) radial splits in the opposite serial side off shoulder region. The broken steel carcass
cords extended from the opposite serial side shoulder to the serial side shoulder in
bands and individual cords. The broken steel carcass cord ends were bent and tangled.
At 12:45 in the crown region, four (4) steel carcass cords were broken. At 11:45, steel
carcass cords were broken approximately 1.1 inches wide under the opposite serial side
tread shoulder rib location. The opposite serial side of the broken steel cords were
missing.

There were two (2) steel carcass cords broken between 12:45 and 1:00.
Radial splits were located on the innerliner on the serial side at 3:15 and 4:15.

At 11:45, the serial side shoulder decoupler rib was split open. Also at 11:45, on the
opposite serial side, there was a gouge and abrasion on the decoupler rib that extended
onto the opposite serial side off shoulder to the circumferential split and broken steel
carcass cords from 11:30 to 12:45.

Overall, the steel belt cords and the steel carcass cords were adhered in rubber.
There was multi-level rubber tearing on all of the detached surfaces.

A localized region of multi-level separation was present on top of the number two (2)
steel belt in the 9:30 to 9:45 opposite serial side region that extended to the serial side
tread shoulder groove region at 11:00 to 12:00. The localized region was along the
9:45 opposite serial side to 12:15 serial side number two (2) steel belt detachment line.
Multi-level radial tear lines were present on the serial side from 10:45 to 12:45 on top
of the number one (1) steel belt. The serial side multi-level radial tear lines extended to
the larger localized opposite serial side region.

There was one separate detached piece of tread and various portions of all four (4) steel
belts that fit the tire from 11:00 on the serial side and 1:00 on the opposite serial side
to 1:00 on the serial side and 3:00 on the opposite serial side for the tread and steel
belts three (3) and four (4). The number two (2) steel belt on the bottom of the number
three (3) steel belt fit the tire from 11:30 on the opposite serial side and 12:30 on the
opposite serial side to the number three (3) and four (4) steel belt detachment line in the
1:15 to 2:00 region. The number two (2) belt was broken along the detachment line and
the serial side of the broken cords were missing. At 12:30 on the opposite serial side to
1:30 on the serial side, there was also an approximate 0.7 inch wide band of the
number one (1) steel belt in the bottom of the detached piece.

The steel cords in steel belts one (1), two (2), three (3) and four (4) on the detached
piece were adhered in rubber.
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There was multi-level rubber tearing on the bottom of the detached piece. A localized
region of multi-level separation was present on the bottom of the detached piece on the
bottom of the number three (3) steel belt following the 11:00 serial side to 1:00
opposite serials ide detachment line. There was also a small localized region in the
11:00 to 12:45 serial side region with multi-level radial tear lines.

There was evidence of heat damage on the components, particularly including extensive
heat discoloration and bluing on the bottom of the detached tread piece.

There were rim line compression groves and erosion 360 degrees on both sides of the
left front tire at issue.

The innerliner was sound. Abrasion on the innerliner was present in the 11:30 to 12:00
serial side sidewall region.

On the serial side sidewall, there were splits through the sidewall at 12:45, 8:15 and
11:30, At 11:45, there was also a split with abrasion extending to a circumferential
break | the 11:30 to 12:00 region. At 12:30, there was a deep gouge on the serial side
bead and at 10:30, there was a two (2) inch cut on the bead with surface cuts on the
sidewall nearby.

On the opposite serial side sidewall, there were radial splits through the sidewall at
12:45 and at 11:30. The sidewall was also split open circumferentially with the steel
carcass cords broken and innerliner broken in the off shoulder region from 11:30 back
to 12:45. There was also abrasion on the innerliner along the break and a portion of the
innerliner was detached and abraded in the region. Additionally, abrasion was visible on
the opposite serial side sidewall near the 12:45 radial split.

At 11:45, on the opposite serial side off shoulder region, there was abrasion that
extended onto the tread surface.

At 12:00, in the opposite serial side bead region, the bead toe was torn open
approximately 1.5 inches wide exposing the steel. There was also abrasion in the
region. At 10:45, the opposite serial side bead was snag that exposed chafer material
and broken steel cords.

There were no manufacturing anomalies in the left front tire that could have caused or
contributed to the failure of the tire.

There were no wheel weights on the left front wheel. There were eroded and worn
wheel flanges with bends. There were also abrasions on both wheel flanges with more

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abrasion on the outboard flange. Additionally, the wheel was covered with a black
material with a brown material underneath.

RIGHT FRONT COMPANION TIRE

During my examination of the right front companion tire, | took four (4) pages of
inspection notes as well as thirty-two (32) digital photographs.

The right front companion tire at issue was identified by information molded on the
sidewalls as follows:

CONTINENTAL HS L2

275/80R22.5

LOAD RANGE: G

MAXIMUM SINGLE LOAD: 6175 LBS @ 110 PSI COLD
MAXIMUM DUAL LOAD: 5675 LBS @ 110 PSI COLD
TUBELESS RADIAL

REGROOVABLE

TREAD: 5 PLY STEEL

SIDEWALL: 1 PLY STEEL

DOT: A3DF1YJ4911

The DOT number indicates that the right front companion tire was manufactured in the
Mt. Vernon, Illinois tire manufacturing facility during the 49th week of 2011.

There was no rim available for examination. The opposite serial side of the tire was
marked “OUTBOARD”.

The average remaining tread groove depth was 11.5/32"4s of an inch. The tread
hardness measured 68 Shore A.

There was serial side tread shoulder abrasion 360 degrees. Additionally, there was
localized deep lateral abrasion on the tread in the 6:00 to 7:00 region.

Localized erosion tread wear was present on the opposite serial side of the tread
shoulder groove and rib in the 12:00 to 2:00 region and 10:00 to 11:30 region.

From 2:30 to 4:00, a deep narrow cut was present on the opposite serial side
intermediate tread rib and at 9:15, there was a 0.1 inch diameter deep puncture with
rounded edges also on the opposite serial side intermediate tread rib. The puncture did
not extend through the innerliner.
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There were rim line compression groves and erosion 360 degrees on both sides of the
right front companion tire.

The innerliner was sound.

| was also provided with photographs of the components taken by Brian Queiser. The
photographs included twenty-six (26) images of the right front companion wheel.
Those photographs show that the flanges on both sides of the right front wheel were
eroded and worn.

D. TIRE CARE AND MAINTENANCE

Among other materials, | have reviewed the available maintenance records related to the
tractor and its tires, the GPS and EDR data related to the speed of the vehicle, and the
depositions of Chris Rodwick, Brian Kehler, Steven Marks, Ryan Mower and Robin Wright
taken in the related Gooden/Cubillos matter and the deposition of Mr. Kehler taken in
this matter. These materials provided information on the purchase and maintenance
history of the Bridgestone R283 Ecopia steer tires used on the tractor, the expectations
and training provided by FedEx Ground and CLR with respect to tire issues, and the
attention and care taken by the operators of the tractor with respect to tire issues.

A number of significant items of information, including but not limited to the following,
were derived from these materials:

1. The left front tire at issue was driven over 52,000 miles prior to the accident;

2. Kehler and Marks contradicted one another about inflation maintenance on the
steer tires, rendering inconsistent testimony about both frequency and method of
inflation pressure checks. Kehler, the lead driver, clearly testified that inflation checks
with a gauge were infrequent -- possibly at intervals as long as three weeks to a month.
Otherwise, tire checks were generally done only by the unreliable method of "thumping"
tires with a "beater." The maintenance records corroborated the inadequacy of this
method, showing low pressures when checked by third parties.

3. Both Kehler and his co-driver Marks failed to even target the specified placard
pressure of 110 psi for the vehicle. Both aimed at lower numbers, which would only be
exacerbated by the improper inflation checking.

4. Mr. Rodwick was aware of tire speed restrictions, believed the subject tire was
speed restricted to 75 mph, and specifically testified that he had advised his drivers
never to exceed the speed limit and never to exceed 75 mph as a maximum. Kehler
admitted in his testimony to being aware that tires have speed restrictions or ratings,

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but apparently made no effort to determine or respect them with respect to the
Bridgestone R283 Ecopia tires in the steer positions. Similarly, Kehler and Marks both
testified they were not aware of Rodwick's maximum speed admonition, and expressly
admitted they often targeted higher speeds through the cruise control feature of the
vehicle.

5. The GPS and EDR data provided, while limited in scope, clearly shows that the
vehicle was frequently driven over the speed restriction of the tire and often for
extended periods. These included numerous occasions on which the vehicle was driven
at speeds at or over 80 mph.

E. CONCLUSIONS

Based upon my education, training, experience, and examination of the left front tire at
issue and wheel, the companion tire and a review of the materials provided to date, |
have reached the following conclusions:

1) The design of the left front tire is not defective or unreasonably dangerous. The
design of the tire is consistent with those generally used in the tire industry for
this application at the time it was manufactured. The tire did not contain any
manufacturing condition or defect that would have been a cause of the tire
failure and was appropriate for sale as a new tire product.

2) The subject tire was appropriately designed, manufactured, tested, stamped and
labeled, and complied with applicable federal regulations and industry standards
governing tires, including Federal Motor Vehicle Safety Standard 119. The stated
purpose of these regulations is to protect the public against unreasonable risk of
accidents involving motor vehicles or motor vehicle equipment including tires.
These safety regulations include both performance and tire identification or
labeling standards.

The 2005 NHTSA publication “The Pneumatic Tire”, Chapter 15 states that
“because the major tire manufacturers have been in business for decades and
have extensive research, design, development, manufacturing and quality control
activities and procedures - and employ thousands of specially trained scientists,
engineers and production personnel - design and manufacturing defects are
extremely rare”.

3) The left front tire at issue experienced a detachment of a majority of the tread
and all four (4) steel belts. This condition alone does not mean the left front tire
is defective. Tread and steel belt detachments occur for a variety of reasons with

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4)

5)

the vast majority of tread and steel belt detachments (full and partial) occurring
as a result of damage from in-service abuse such as overdeflected operation,
cuts, punctures, improperly repaired punctures, wear into the belt structure
and/or road hazard impact injuries.

The 2011 “Radial Tire Conditions Analysis Guide” was published by the
Technology & Maintenance Council of the American Trucking Associations, Inc.
This guide is specifically for truck tires such as the tire at issue. This guide
states that the probable cause of a section of tread with loose exposed, frayed
wires or pieces of tire [can we just say “a separated tread/belt fragment’], usually
found along the side of the road, is heat buildup, resulting from operating with
insufficient inflation pressure to carry the load. The guide also recommends
performing frequent air pressure checks and pre-trip inspections. This guide
also states that road hazards may result in loss of air and/or separation. To
minimize road hazards, the guide recommends eliminating yard debris, review
pre-trip inspection procedures, and review operating environment.

There is also a brochure titled “Bring it Home Safely...How You Can Prevent
Underinflated Truck Tires”, also published by The Maintenance Council of the
American Trucking Associations. This brochure discusses the importance of
proper inflation pressure and inflation pressure maintenance to help prevent
tread and steel belt detachments.

The left front tire at issue experienced a detachment of a majority of the tread
and all four (4) steel belts as a result of overdeflected operation and speed.
Overdeflected operation is caused by overloading, underinflation or a
combination of both. Additionally, excessive speed contributed to the
deterioration of the tire resulting in the detachment of a majority of the tread
and all four (4) steel belts.

The physical evidence on the left front tire and wheel consistent with
overdeflected operation includes:

a) the rim line compression grooves and erosion on both sides of the tire;

b) the belt separation between steel belts two (2) and three (3);

c) the lack of any manufacturing or design defect in the left front tire;

d) the eroded and worn flanges on both sides of the left front wheel;

e) the heat discoloration and bluing on the bottom of the detached tread piece.

As discussed in conclusion 2 above, the 2011 “Radial Tire Conditions Analysis
Guide” published by the Technology & Maintenance Council of the American
Trucking Associations, Inc. This guide states that the probable cause of a

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section of tread with loose exposed, frayed wires or pieces of tire, usually found
along the side of the road is heat buildup, resulting from operating with
insufficient inflation pressure to carry the load. The guide also recommends
performing frequent air pressure checks and pre-trip inspections. This same
digest states that two of the probable causes of damage to the rim flange on
aluminum wheels and associated bead damage including cracking are low air
pressure and overloading.

| gave a presentation at the September 2004 International Tire Exposition and
Conference (ITEC) pertaining to rim line compression grooves. The title of the
presentation was “Rim Line Compression Grooves as an_ Indication of
Underinflated or Overloaded Tire Operation in Radial Tires”. This conference is
held every two years and is one of the premier seminars for presentations and
peer review of scientific tire-related research. My paper and others at the ITEC
were presented to a broad spectrum of tire industry people, including tire
engineers and tire chemists. The paper illustrates rim line compression grooves
as a result of controlled evaluations. The paper also studied how overdeflected
operation in combination with speed can increase the operating temperature of a
tire especially at the belt edges.

Standards Testing Laboratories has also conducted and published three (3)
research papers in 1997 and 1998 that support the technical position that rim
line compression grooves develop primarily as a result of overdeflected
operation. Additionally, the 2001 Northwestern Traffic Investigation Manual,
Chapter 8, also discusses rim grooves as an indicator of overdeflected operation.

Rim line compression grooves are an indication of the cumulative overdeflected
operation history of a tire. Overdeflected operation increases the operating
temperature of the tire. Overdeflected operation, depending on the length of
time and overall service conditions such as speeds to which the tire is subjected,
can damage the tire, including degrading the physical properties of the rubber
compounds and reducing a tire’s resistance to separation especially at the belt
edges.
6) The operators of the vehicle, including Mr. Kehler, did not act reasonably or meet
the standard of care with respect to tire inflation maintenance. Per the
depositions and various discovery materials, there was not a proper regular
practice of checking the inflation pressure of the tires with a gauge at regular
intervals. Additionally, the vehicle placard inflation pressure of 110 psi for the
steer axle tires was not being followed. A proper routine checking of the
inflation pressure of the steer axles tire would include insuring the pressures
were set to the 110 psi placard recommended inflation pressure with the use of

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an accurate air pressure gauge. Visual inspection of the tires to check for a low
pressure tire and/or thumping a tire are not an appropriate way to insure the
tires are properly inflated.

The basic design and function of tires, including that they are pneumatic devices,
rely on compressed air to provide their designed load carrying capacity. The Tire
and Rim Association load and inflation tables that specify the maximum load
carrying capacity for each size tire are based on the volume and pounds per
square inch of compressed air inside each tire. If the inflation pressure is inside
a tire is set and/or maintained below the recommended operating inflation
pressure, the corresponding load carrying capacity is reduced. The tire operates
hotter and the tire has to work harder than a properly set and maintained
operating pressure. The stresses and strains in the tire overall increase
especially at the steel belt edges. Following the vehicle tire placard or owner’s
manual to ensure proper inflation pressure is used for the load being carried per
each tire on the vehicle is required to ensure overdeflection does not occur.
Additionally, as demonstrated in various technical papers, when a tire is
operated underinflated, the operating temperature as well as the stresses and
strains at the belt edges increases. Ref, "The Pneumatic Tire", edited by A. N.
Gent and J. D. Walter, Published 2005 by NHTSA and “The Effect of Underinflation
on Tire Operating Temperature’, Jenny Paige, ITEC 2012.

This improper inflation maintenance was a cause of the failure of the left front

tire.
7) The operators of the vehicle, including Mr. Kehler, did not act reasonably or meet
the standard of care with respect to the speed at which the left front tire was
operated. The speed capability of the left front tire at issue was 75 miles per
hour, All commercial truck tires have a speed restriction, and this is commonly
known among truck operators and those responsible for truck tire maintenance.
This has been a requirement of truck tires extending back decades to bias ply
truck tires. The heavy load requirements of truck tires require a speed limit to
insure truck tires are not run excessively hot and can perform satisfactorily. This
is also common knowledge in the trucking industry. The vehicle involved in this
matter was routinely operated above 75 miles per hour, including times in
excess of 85 miles per hour. These failures contributed to causing the tire
failure.
8) Overdeflection and speed individually and in combination cause a tire to run hot
and cause a tire disablement such as occurred in this matter.

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9) There was no inadequacy or impropriety in the speed capability information
Bridgestone provided for the subject tire. It was common for tire manufacturers
to provide that information in the same manner used by Bridgestone and no
standard or other requirement mandated any other methodology. Further, the
fact that truck tires are speed restricted is well known in the trucking industry, as
is illustrated by the testimony of Mr. Roderick, Mr. Kehler and Mr. Marks.

10) The left front tire also exhibits road hazard impact damage that contributed to
the failure of the tire, which was already significantly damaged and weakened
from overdeflected operation and excessive speed.

11) The left front tire at issue was not in a defective condition or unreasonably
dangerous at the time it left Bridgestone’s hands. The left front tire underwent a
substantial change in its condition after it left Bridgestone. The left front tire at
issue in this case failed because the tire suffered a combination of the service
conditions and abuses that changed its condition substantially after it left
Bridgestone.

12) The multi-level tearing and rubber tear appearance of the exposed detached
surfaces of the steel belt skim and steel carcass skim rubber are evidence that
the overall rubber to rubber and rubber to steel adhesion levels as well as the
fatigue resistance, age resistance and physical properties, such as rubber
strength and tear strength of the belt skim compound, were appropriate in the
subject tire. The multi-level tearing of the rubber between the steel belts is also
evidence that there was good balanced adhesion between all the various
interfaces of the laminate structure. There is no physical evidence of any
inadequate bonding or adhesion deficiency or premature aging of the belt skims
in the subject tire. There is no evidence of insufficient antidegradents either by
design or through manufacturing exceptions to counteract the degree of oxygen
attack. This is based on the physical evidence on the tire. The steel cords
overall are encased in rubber with the exception of a localized region in the top
and bottom steel where the tire became disabled. The tire randomly tore apart
in a multi-level way indicating good balanced adhesion and appropriate physical
properties of the rubber. References: "Component Interfacial Tearing
Appearances" by Gary Bolden and TIA 2005 - "Passenger & Light Truck Tires
Conditions Manual".

13) There is no physical evidence of inadequate bonding of the belt skim of the
subject tire. The multi-level tearing described above indicates good adhesion.
Further, the indications described by Mr. Carlson as pattern marks are normal
tear patters and are not, in any event, an indication of any adhesion issue.
Technica! papers that support this include: 1) “Belt Misalignments and Belt/Belt

14
Case 2:15-cv-00127-ABJ Document 217-1 Filed 12/02/16 Page 16 of 41

Tear Patterns” by Harold J. Herzlich of Herzlich Consulting, Inc., ITEC 2002, 2)
“Component Interfacial Tearing Appearances” by Gary Bolden, ITEC 2004, 3) “Do
Liner Patterns Affect Tire Performance” by James D. Rancourt, Ph.D., ITEC 2004
and 4) “Process Marks in Disabled Tires” by Jean-Claude Brico, ITEC 2006.

14) The innerliner is not defective in the left front tire and in my experience is in line
with well manufactured radial truck tires sold and used in the United States over
the years. The left front tire does not have any exposed or penetrating body ply
fabric. The innerliner including the innerliner thickness did not cause or
contribute to the failure of the left front tire at issue.

15) There is no data or performance criterion supporting Mr. Carlson’s criticism of
the innerliner of the subject tire. Moreover, the suggestion that an innerliner
issue could have contributed to the failure of the subject tire in less than three
months without any forensic corroboration is unsupported by and contrary to
recognized tire science.

16) It is not appropriate to take measurements of rubber components such as the
innerliner in a tire that has been in service for an extended period of time with
significant mileage and compare slight differences to a new tire specification. It
is well known that rubber such as the innerliner can compress, creep and even
stretch when used in service. The innerliner is still present and the air retention
capability is not compromised. Tires grow slightly in service and the innerliner is
exposed to various levels of compressed air, flexing and heat during its service
life.

17) Further, Mr. Carlson’s methodology in measuring a torn innerliner to reach a
conclusion about actual gauge is contrary to industry standards, unscientific and
unreliable. At locations where the tire has split, the innerliner becomes
stretched and expanded. Additionally, the surface of the radial splits are rough,
irregular torn surfaces thus adding additional variability.

18) The configuration of the wedge and base rubber components of the subject tire
were adequate and appropriate. Increasing rubber gauges of components does
not necessarily improve tire durability. Unnecessary increases in rubber gauges
can actually reduce component and overall tire life. Unnecessary increases in
rubber gauges of rubber components increase tire weight, increase tire
operating temperature and can increase the stresses and strains in the tire. The
design approach to tires is to optimize each component in the tire to obtain the
required tire performance.

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Case 2:15-cv-00127-ABJ Document 217-1 Filed 12/02/16 Page 17 of 41

19) There was nothing unusual about the steel belts in the subject tire that would be
of concern related to tire durability. Based on my examination of the subject tire
the steel belts were in line with well-manufactured tires and did not cause any
tire durability issue in the left front tire.

| have analyzed belt cord conditions on a large number of tires in my career,
including tires manufactured by a variety of tire manufacturers in both new tires
and worn tires. Additionally, on September 18, 2012, at the 2012 international
Tire Exposition and Conference “ITEC”, in Cleveland, Ohio, | presented a paper
pertaining to an X-ray study of sixty (60) worn out passenger and light truck
tires that | conducted. This study confirms that the belt conditions in the subject
tire and the companion tires are normal and are not a concern related to
durability. | Additional technical papers that support this include: “Belt
Misalignments and Belt/Belt Tear Patterns” ITEC 2002 and “The Effect of Snaked
Belt Anomalies on Tire Durability” ITEC 2000 both by Harold J. Herzlich of
Herzlich Consulting, Inc.

20) The left front tire at issue should not have been in service on the day of the
accident. The persons responsible for maintaining and inspecting the left front
tire at issue, including Mr. Kehler, should have taken remedial action and
removed the tire at issue from service before the accident. The area over the
localized region where the tire failed would have appeared distorted. An
increase in noise and vibration from the tire leading up to the tire failure would
also have been signals to most drivers that the tire needed to be replaced.
Additionally, there was irregular erosion or river wear that would warrant
removing the tire.

21) At the time of the accident, the right front tire was a different size compared to
the left front tire. Different size tires should not be mixed on the same axle.
This should be common knowledge among truck operators, and is another
indication of improper tire maintenance and a lack of due care for tire safety.

22) In my experience, the forces generated on a vehicle from a tire failure do not
normally adversely affect the dynamics of the vehicle or cause loss of control. If
a loss of control does occur, it is typically related to other factors. I have
instrumented many vehicles including a semi-tractor trailer during my career
and measured the forces going into a vehicle during various types of tire
disablements at highway speeds, including tread and top steel belt detachments
such as encountered in this accident. According to the 2005 NHTSA publication
“The Pneumatic Tire”, Chapter 15, the statistics indicate that only a fraction of

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Case 2:15-cv-00127-ABJ Document 217-1 Filed 12/02/16 Page 18 of 41

the time, 0.06% to 0.50%, does an in-service tire failure end up with some type
of crash.

23) 1 disagree with Mr. Carlson’s defect contentions and criticisms of the subject tire
contained within his report. | understand that Mr. Carlson will give a deposition
in this matter and | expect to respond to the contentions and any new opinions
offered at that time.

This report and the opinions expressed are based upon a reasonable degree of
professional certainty, my education and work experience and on the materials
presently available to me. | reserve the right to supplement or amend this report in light
of newly-acquired information.

| have enclosed a copy of my current CV which includes publications, my deposition and
trial testimony list, a list of case specific file materials, a list of general reference file
materials, a list of “Impact Literature & Reference Materials” and a list of “Overdeflected

Operation” reference materials. My hourly billing rate is currently $310 per hour as of
January 1, 2016.

If you have any questions regarding my examination or opinions, please contact me.

bint

Joseph L. Grant

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Case 2:15-cv-00127-ABJ Document 217-1 Filed 12/02/16 Page 19 of 41

A list of case specific materials reviewed by Joseph L. Grant as of June 30, 2016 in the Kef/er v.

Bridgestone Americas Tire Operations, LLC, et a/. matter.

1) Subject Tire and Wheel;

2) Companion Tire;

3) Defendant Commercial Tire’s Rule 26 Initial Disclosures Including Supplements;

4) Defendant Bridgestone Americas Tire Operations, LLC’s Rule 26 Initial
Disclosures Including Supplements;

5) Plaintiff's Rule 26(a) Initial Disclosures Including Supplements;

6) Plaintiff's Amended Complaint;

7) Plaintiff’s Complaint;

8) Traffic Crash Report;

9) Scene Photos;

10) Defendant Bridgestone Americas Tire Operations, LLC’s Response to Plaintiff's
First Requests for Production;

11) Defendant Bridgestone Americas Tire Operations, LLC’s Responses to Plaintiff's
First Set of Interrogatories;

12) Defendant Commercial Tire’s Responses to Plaintiff's First Requests for
Production;

13) Defendant Commercial Tire’s Responses to Plaintiff's First Set of Interrogatories;

14) Plaintiff's Responses to Defendant Bridgestone Americas Tire Operations, LLC’s
First Request for Production;

15) Plaintiff's Answers to Defendant Bridgestone Americas Tire Operations, LLC’s
First Set of Interrogatories;

16) Plaintiff's Responses to Defendant Commercial Tire’s First Request for
Production;

17) Plaintiff's Response to Defendant Commercial Tire’ First Set of Interrogatories;

18) Plaintiff’s First Supplemental Responses to Defendant Commercial Tire’s First
Set of Requests for Production;

19) Plaintiff's First Supplemental Response to Defendant Commercial Tire’s First Set
of Interrogatories;

20) Plaintiff's Second Supplemental Responses to Defendant Commercial Tire’s First
Set of Interrogatories;

21) Plaintiff's FRCP 26 Initial Expert Designations (including reports);

22) Plaintiff’s FRCP 26 First Supplemental Expert Designations (including
attachments);

23) Plaintiff's FRCP 26 Second Supplemental Expert Designations (including reports);

24) Defendant Bridgestone Americas Tire Operations, LLC’s Expert Witness
Disclosure (including reports);

25) Deposition Transcripts for Brian Kehler (w/ exhibits);

26) Deposition Transcript for Chris Rodwick (w/ exhibits),

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Case 2:15-cv-00127-ABJ Document 217-1 Filed 12/02/16 Page 20 of 41

27) Deposition Transcript for Ryan Mower (w/ exhibits);

28) Deposition Transcript for Steve Marks (w/ exhibits);

29) Deposition Transcript for Robin Wright (w/ exhibits);

30) Deposition Transcript for James Kiriazes (w/ exhibits);

31) Deposition Transcript for Paul Bernstorf (w/ exhibits);

32) Deposition Transcript for Alan Bauman (w/ exhibits);

33) Deposition Transcript for Joshua Byrd (w/ exhibits);

34) Deposition Transcript for Michael Sear (w/ exhibits);

35) Deposition Transcripts for David Johnson (w/ exhibits);

36) Deposition Transcripts for Brian Queiser (w/ exhibits);

37) Tire Specifications;

38) Adjustment Data;

39) Claim and Lawsuit Data;

40) Production Data;

41) Prototype Design Review and Developmental Design Review for 295/75R22.5
Bridgestone R283 Load Range G Tires;

42) Development Testing;

43) HTBRA Testing;

44) UTBR Testing;

45) Standard Practices;

46) Development Documents;

47) Innerliner Design Review;

48) Statement of the Butyl Content of the Innerliner;

49) FMVSS Requirements;

50) Tire Maintenance and Safety Literature;

51) Tire & Rim Association Provisions;

52) Truck Tire Limited Warranty and Safety Manual;

53) Bridgestone Truck Tire Data Book;

54) Bridgestone Steer Tire Failure Testing;

55) Video “The Critical Factor-Michelin Tire Co. Video (1987)”;

56) FedEx Unit Photos/Videos, SCOTT, Bates Nos. 1570002831;

57) Scott, John - 15.04.07 Photos/Videos, Bates Nos. 1570002865;

58) Queiser Photographs of the Subject Tire and Wheel and Companion Tire and
Wheel:

59) Utah Commercial Driver License Handbook;

60) X-Rays of Subject Tire.
Case 2:15-cv-00127-ABJ Document 217-1 Filed 12/02/16 Page 21 of 41

PRESENT
EMPLOYMENT:

HOME ADDRESS:

EDUCATION:

COURSES &
SEMINARS:

PROFESSIONAL

ORGANIZATIONS:

PUBLICATIONS:

PATENTS:

CURRICULUM VITAE OF
JOSEPH L. GRANT

Independent Tire Analyst

4201 Moss Creek Court
Matthews, North Carolina 28105
Phone 704 617 0336

Bachelor of Science in Mechanical Engineering — June, 1971
Fenn College of Engineering, Cleveland State University

* Tire Society Symposium

¢ Akron Rubber Group

* Clemson University Tire Industry Conference (October, 1985 and 1986)

¢ Monsanto Rubber Technology Seminar (May, 1989)

* SAE Motor Vehicle Accident Reconstruction and Cause Analysis
(March, 1993)

* International Tire Exposition and Conference

* Northwestern University Traffic Institute Accident Investigation
(March, 1997)

¢ STL Trans Tech Tire Technology Seminar — 1999

* Society of Automotive Engineers
* Akron Rubber Group
* Rubber Manufacturers' Association
Chairman - Truck Bus Tire
Engineering Committee (1986-1992)
* Tire & Rim Association
* The Maintenance Council of the American Trucking Association
¢ American Society of Mechanical Engineers
* Tire Industry Association
« American Chemical Society

"What makes a High Performance Tire Different than a Regular Tire"
Jan. 1986 - Akron Rubber Group
Oct. 1986 - Clemson University Tire Industry Conference
April 1987 - American Retreading Association

“Rim Line Grooves as an Indicator of Underinflated or Overloaded Tire

Operation in Radial Tires”
September 2004 — ITEC

“X-Ray Study of Sixty (60) Worn Out Passenger & Light Truck Tires”
September 2012 - ITEC

Method of Forming Belted Radial Tires from a Cylindrical Tire Band
(1977)
Case 2:15-cv-00127-ABJ Document 217-1 Filed 12/02/16 Page 22 of 41

EMPLOYMENT:

POSITIONS:

* June, 1971

¢ October, 1972

* October, 1978

¢ April, 1980

¢ March, 1987

¢ September, 1988

¢ January, 1993

* January, 2006

CURRICULUM VITAE OF
JOSEPH L. GRANT

- June 1971 — Dec. 1994 The General Tire & Rubber Company
- Jan., 1995 — April 2000 Continental General Tire, Inc.

- May 2000 — Dec. 2005 Continental Tire, North America, Inc.
- Jan. 2006 — Present Independent Tire Analyst

Engineering Trainee, Tire Technology Department, Akron Tire
Manufacturing Plant (Akron, Ohio).

Project Engineer, Advanced Tire Development.

Responsible for the Development of Advanced Concept Tire Products,
including Fiberglass Belted Radial Passenger Tires and Advanced Bias Truck
Tires (Akron, Ohio).

Manager, Bias Passenger Car Tire Engineering Technology.
Responsible for the Engineering Development Group for Bias Passenger
Tires (Akron, Ohio)

Manager, Replacement and Private Brand Passenger Car Tire Engineering
Technology.

Responsible for the Engineering Development Group for Bias and Radial
Passenger Tires (Akron, Ohio).

Section Manager, Radial Truck Tire Engineering.
Responsible for the Engineering (Construction and Mold Design)
Development Group for Radial Truck Tires (Akron, Ohio).

Director, Commercial Tire Technology.

Responsible for the Engineering (Construction and Mold Design) and
Compound Development Groups for Commercial Products, including Bias
and Radial Medium and Heavy Service Truck Tires and Giant, Farm and
Industrial Tires (Akron, Ohio, September 1988 - March 1992) (Mt. Vernon,
Illinois, April 1992 - December 1992).

Director, Product Analysis.

Responsible as company-wide consultant to assist other Departments on the
subject of Tire Failure Analysis, Tire Performance Standards, and Safety
Literature (Akron, Ohio, January 1993 - October, 1995) (Charlotte, North
Carolina, November 1995 — January 2006).

Independent Tire Analyst
Case 2:15-cv-00127-ABJ Document 217-1 Filed 12/02/16 Page 23 of 41

JOSEPH L. GRANT

DEPOSITION AND TRIAL LIST

 

NAME

VENUE

TRIAL

DEPO

LOCATION

 

Aguilar vs. Tricor

Superior Court of the State
of CA. San Diego, Central
Case NO. 37-2012-
00086554-CU-PA-CTL

14

San Diego, CA

 

Alexander v. Dunlop

NY, Sup Court of State of
NY, County of Broome,
No.:2668/04

12

Binghamton

 

Allen, Kimberly v Michelin

Arizona Mohave County
Superior Court, Case No.
CV2013-07176

15

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Charlotte, NC
Lake Havasu, AZ

 

Baxter vs. Bridgestone

Superior Court of the State
of California, County of
Tehama CASE No. 65202

13

Charlotte, NC

 

Biggers v Continental

53" Judicial District,
Travis County, Texas

14

Charlotte, NC

 

Brennan v. Ford

MT, Cascade Co.
ADV-06-1218

12

Great Falls, MT

 

Brown v Hankook

US District Court of
Eastern District of OK, No.
6:14-cv-00109-RAW

15

Tulsa, OK

 

Cail, Danny vs Bridgestone

Circuit Court, Russell
County, Alabama, Civil
Action No. CV-2014-
900080.00

16

Akron, Ohio

 

Charcalla, Brenda v.
Goodyear

US District Court, Western
District of Pennsylvania
Civil Action No.: 13-cv-

00200204-JFC

15

Charlotte, NC

 

Contessa, Nicholas v Michelin

Lee County, Florida
Case No.: 10-CA-004573

13

Greenville, SC

 

Corral, Jose v FMC & MNA

US Dist Court, Orlando FL
6:11-cv-00706-Orl-3 IKRS

12

Charlotte, NC

 

Demas v Nissan

Cook County, Illinois
Case No. 09 L 013814

14

Greenville, SC

 

Dos Santos v GM, YRC

US District Southern
District of AL Case No.:
1:13-cv-00136

14

Charlotte, NC

 

Dukes v Michelin et al.

19 Judicial Circuit Court,
St. Lucie, Florida Case No.
12-CA-002094

16

Charlotte, NC

 

Fleming v. Cumbee Tire
Service

State of South Carolina
CA No.: 2010-CP-45-470

12

Charleston, SC

 

Ganther v. Cooper Tire

State of CA, LA
Case No. RIC521833

13

Los Angeles, CA

 

Garcia, Narciso vs.
Bridgestone

Superior Court of Fulton
County, State of GA
CA No. 2006-CV-124449

12

Akron, Ohio

 

Gooden v BATO, et al

Wyoming US District
Court CA No. 15-cv-50

16

Akron, Ohio

 

 

Goodwin, Vanessa and Nolan
vs. Cooper

US Southern District of
Mississippi

 

 

 

12

 

Birmingham, AL

 

1

 
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NAME

VENUE

TRIAL

DEPO

LOCATION

 

No. 1:09-CV-704

 

Gonzalez, Irma v.
Bridgestone/Firestone

CA, County of Stanislaus
Case No. 382751

12

Redwood City,
CAL

 

Haines vs. Great West
Casualty Company

Hageman vs. Sheridan 7

State Court of Hall County,
Georgia
File No. 2011SV670N

12

Atlanta, GA

 

District Court of Platte
County, Nebraska
Case NO. CI 14-204

15

Charlotte, NC

 

Hartsock v. Goodyear Dunlop

US District Court, South

Carolina Charleston Div.

Case No.:2:13-cv-00419-
PMD

15

Charlotte, NC

 

Hernandez v Goodyear &
Sears

US District Court
Western District of Texas
San Antonio Division
CA NO. SA-12-CV-0543-
HH

13

Charlotte, NC

 

Hofmann vs. Enterprise

State of Minnesota, Fourth
Judicial District Court
No. 27-CV-13-1995

16

Pittsburgh, PA

 

Holt v Goodyear

Superior Court of Arizona
No. CV2013-004191

15

Los Angeles, CA

 

Jackson v MNA

Cause No. 10,603
287" Judicial District
Court, Parmer County, TX

16

Austin, TX

 

Jimenez, et al v. Con-Way
Truckload

Nueces County Court,
Texas Cause No. 2014-
CCV-61239-1

16

San Antonio, TX

 

Johnson, Veronica v. Hankook

MISS. US D C
Northern Dis. Of Miss.
CA No. 2:09cv113-MPM-
DAS

12

Charlotte, NC

 

Lacroix v Cooper

Fifteenth Judicial Court,
Palm Beach County,
Florida Case No.: 2013 CA
524 AO

15

Charlotte, NC

 

Liljeberg v Continental

Circuit Court,
Montgomery, AL
No. 03-CV-2011-

900647.00

14

Charlotte, NC

 

Lowry v MNA

GA, State Court of
Clayton County,
NO.2009CV08351C

12

Charlotte, NC

 

Mahe, Felipe v. CTA

US Dist Court
Central Dist. Of CA-
Westen Div
Case No. ED CV 10-01744
DSF

12

Los Angeles, CA

 

Malik, Raheel v Cooper

US District Court, NJ
Civil Action No. 2:10-cv-
06371

14

Houston, Texas

 

 

McCoy vs California Dept of
Transportation

 

Superior Court of the State
of CA. Ventura County
Case No. 56-2014-

 

 

16

 

Oxnard, CA

 

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NAME VENUE TRIAL | DEPO LOCATION

 

00461883-CU-PO-VTA

 

Medina vs. Michelin et al. District Court of Dallas ~ 16 Austin, TX
County, Texas, 134"
Judicial District

 

Michelin Tire Litigation State Court Dekalb County - 13 Charlotte, NC
GA
CA No. 11A40143-1

 

McMillian v Effinger, et al. Circuit Court, Montgomery . 13 Charlotte, NC
County, AL
CANo. 03-CV-2011-
001095

 

Muszynski vs. Cooper Eighteenth Judicial Circuit, - 15 Charlotte, NC

Seminole County, Floridaa

Case No. 11-CA-2755-10-
K

 

Ochoa Garcia v. Goodyear State of Arizona - 13 Charlotte, NC
County of Maricopa
No. CV2008-010454

 

Ortiz vs. YRC Orange Co, Cal. State Ct - 12 San Diego, CAL
Case No. 30-2010-
00408867

 

Padilla vs. Cooper California Judicial Council - 14 Los Angeles, CAL
Coordination Case No.
CIVBS1000181

 

Parker, Tracey vs. CTA FL Circuit Court of the 15" 13 12& Charlotte, NC
Judicial Circuit. Palm 14 133) | Miami, FL
Beach County
2009 CA 044048 XXXX
MB (AF)

 

Paz v Goodyear Superior Court of State of - 15(2) | Los Angeles, CAL.
Cal. Conty of LA No.
BC512911

 

Perez, Branden v. Cooper et al State of California, - 12 Los Angeles, CAL
Riverside County
CA No. INC092252

 

Perry vs. Cooper Tire 15" Judicial Circuit in and - 14 Charlotte, NC
for Palm Beach County,
Florida CASE NO.
2012CA013039XXXXMB
AA

 

Pfeiffer, Paula vs Bridgestone Circuit Court First Judicial - 16 Akron, Ohio
Retail Circuit, Santa Rosa County,
Florida Case No.: 2014-
CA-000067

 

Poe vs. Harley Davidson Tennessee, Knox County - 12 Charlotte, NC
NO. L-16775

 

Reed vs. U-Haul US District Court - 13 Charlotte, NC
Western District of OK
No. 5:11-cv-1439-HE

 

Reynosa v. Pacific Ag Rentals, State of Cal., Fresno Co. - 12 Los Angeles, CAL
et al. Centra! Division
Case No.: 11CECG00711

 

 

Robinson v Hankook AL, C. C. of Talladega - 12 Charlotte, NC
No: CV-08-9002 16

 

 

 

 

 

 
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NAME

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Rodriguez, Jesus Vidal v
Bridgestone

Sixth Circuit Court for
Davidson County, Tenn.
Nashville Case No. 01C-

315

13

Nashville, Tenn.

 

Sallee v Ford

Circuit Court Montgomery
CV-2012-901515

14

Birmingham, AL

 

Severino v Lazy Dau’s RV
Center & Goodyear

Circuit Court for the
Thirteenth Judicial Circuit
in and for Hillsborough
County, Florida
Case No; 12-CA-017948

15, 16

Charlotte, NC

 

Shiver, Frank v Bridgestone

US District Court
Middle District of Florida
Case No.:3:11-CV-01256-

HLA-JBT

13

Akron, OH

 

Silver v. TBC Retail Group

NC

13

Raleigh, NC

 

Sleight v Rusty’s

Second Judicial District
Court of Weber County
Ogden Department, State of
Utah Case No. 110905721

15

Charlotte, NC

 

Solis/Corrella v. Bridgestone

USDC, Arizona
No. 4:10-cv-484-TUC-
DCB

12

Akron, OH

 

Taylor v. Michelin, GM

Superior Court of the State
of AZ
Maricopa County
CV2011-014149

13

Charlotte, NC

 

Thompson v. Michelin

Circuit Court Mobile, AL.
02-CV-201 1-900950.00

13

Atlanta, GA

 

Troya vs. FORD MOTOR
COMPANY

Superior Court of the State
of California, LA County
CASE NO. BC473963

14

14

Costa Mesa, CA

 

Valdez v MNA

District Court Hidalgo
County, TX CAUSE NO.
C-0869-13-B

15

Austin, Texas

 

Vang, Pe Chi-A v. Cooper

Minnesota, District Court
27-CV-10-13554

12 & 15
Hearing

12

Birmingham, AL
Minneapolis, MN

 

Villanueva v Ford

Superior Court of the State
of California, LA County
Case No.: S-1500-CV-
269246, DRL

13

Los Angeles, CA

 

Westfield Ins v BATO

US District Court Northern

District of WV, Clarksburg

Division Case No. 1:14-cv-
00055-IMK

15

Akron, Ohio

 

 

 

Williams v. Continental

 

CC for Balt. City, MD
Case No. 24-C-10-005762

 

 

12

 

Charlotte, NC

 

 

 
Case 2:15-cv-00127-ABJ Document 217-1 Filed 12/02/16 Page 27 of 41

JOSEPH L. GRANT GENERAL REFERENCE LIST of MATERIALS

OVER MY CAREER, AS PART OF MY TRAINING AND EXPERIENCE, | HAVE REVIEWED AN
EXTENSIVE NUMBER OF PUBLICATIONS, TEST RESULTS, ARTICLES AND VARIOUS OTHER
LITERATURES RELATED TO TIRE PERFORMANCE ISSUES. THE LIST BELOW IDENTIFIES A

SAMPLE OF THE MATERIALS THAT | HAVE BEEN EXPOSED TO AND REVIEWED. THE
ACTUAL EXTENSIVE LIBRARY OF MATERIALS THAT | HAVE BEEN EXPOSED TO AND
REVIEWED IS FAR GREATER THAN THIS LIST

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The Tire and Rim Association Yearbooks & Materials

Bennett Garfield, Who Makes it? And Where? Directory (Annual)

Bennett Garfield, OE Tire Size Guide (Annual)

Bennett Garfield, Tire Guide (Annual)

Bennett Garfield, Tread Design Guide (Annual)

The Tire Technology Conference, October 28-29, 1986, Clemson University -
What Makes a High Performance Tire Different Than a Regular Tire?

RMA Poster - Inspection Standards for Radial Passenger Tire Casings

The Maintenance Council (TMC) - Recommended Maintenance Practices Manual
“Radial Tire Conditions Analysis Guide, A Comprehensive Review of Tread Wear
and Tire Conditions” 2011, TMC ATA

“Radial Tire & Disc Wheel Conditions Digest” 2012, TMC ATA

“Radial Tire & Disc Wheel Conditions Service Manual” 2007, TMC ATA

“Bring It Home Safely...How You Can Prevent Underinflated Truck tires” TMC ATA
ASTM Designation: E 860 - 82 (Reapproved 1991) - Standard Practice for
Examining and Testing Items That Are Or May Become Involved In Products
Liability Litigation

Tire Examination Following Accidents, Topic 825 of the 7raffic-Accident
Investigation Manual

ARA Module 1: Basic Tire Construction

Pamphlet re: A Look Inside re: size designations, types of tires, common
ingredients, and advantages & disadvantages

ITEC 1994, Paper #14A/B - Tire Dynamic Properties in the 90’s: Making Vehicles
Perform

SAE Technical Paper Series, 820814 - The Distribution of the Inflation Forces on
the Structural Members of a Radial Tire

“Engineering with Rubber, How to Design Rubber Components”, Edited by Alan
N. Gent, 1992, Rubber Division of the American Chemical Society.

“Rubber Technology” by Morton

SAE SP-729, Heavy Duty Truck Tire Engineering, Thomas L. Ford and Fred S.
Charles, 1988

SAE Paper “The Magic of the Drag Tire” 942484;
Case 2:15-cv-00127-ABJ Document 217-1 Filed 12/02/16 Page 28 of 41

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Mechanics of Pneumatic Tires, US Department of Transportation, National
Highway Traffic Safety Administration, Samuel K. Clark

The Vanderbilt Rubber Handbook, Thirteenth Edition, R.T. Vanderbilt Co. 1990
Materials Science in Engineering

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